Case 1:15-cv-06119-AJN-JLC Document 373-3 Filed 06/19/17 Page 1 of 19




            Exhibit 3
      Case 1:15-cv-06119-AJN-JLC Document 373-3 Filed 06/19/17 Page 2 of 19


                                                                              Page 1
1    UNITED STATES DISTRICT COURT
2    SOUTHERN DISTRICT OF NEW YORK
     ---------------------------------------X
3    STEVEN E. GREER, MD
     an individual,
4
                            Plaintiff,
5
                -against-
6
     Dennis Mehiel, an individual, Robert
7    Serpico, an individual, The Battery Park
     City Authority, a New York State authority,
8    Howard Milstein, an individual, Steven Rossi,
     an individual, Janet Martin, an individual,
9    Milford Management, a New York Corporation, and
     Mariners Cove Site B Associates, a New York
10   corporation.
11
                        Defendants.
12   ----------------------------------------X
13
14                  DEPOSITION OF KEVIN McCABE
15                      New York, New York
16                    Thursday, April 6, 2017
17
18
19
20
21
22
23   Reported by:
24   Angela M. Shaw-Crockett, CCR, CRR, RMR, LSR
25   Job No: 122209


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      Case 1:15-cv-06119-AJN-JLC Document 373-3 Filed 06/19/17 Page 3 of 19


                                                                              Page 2
1
2
3
4                     April 6, 2017
5                     10:02 a.m.
6
7    DEPOSITION of KEVIN McCABE, taken by the
8    Plaintiff, held at the offices of Sher Tremonte,
9    90 Broad Street, New York, New York, before
10   Angela M. Shaw-Crockett, a Certified Court
11   Reporter, Certified Realtime Reporter, Registered
12   Merit Reporter, Licensed Shorthand Reporter and
13   Notary Public of the States of New York, New
14   Jersey and Connecticut.
15
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      Case 1:15-cv-06119-AJN-JLC Document 373-3 Filed 06/19/17 Page 4 of 19


                                                                              Page 3
1
2               A P P E A R A N C E S:
3
     STEVEN GREER, MD
4              Plaintiff Pro Se
               (Appearing Telephonically)
5
6    SHER TREMONTE
            Attorneys for Defendants
7           ROBERT MICHAEL SERPICO
            BATTERY PARK CITY AUTHORITY
8           90 Broad Street
            New York, NY 10004
9
10   BY:     MICHAEL TREMONTE, ESQ.
             JUSTIN GUNNELL, ESQ.
11
12   ROSENBERG & ESTIS
            Attorneys for Remaining Defendants
13          733 Third Avenue
            New York, NY 10017
14
     BY:     DEBORAH RIEGEL, ESQ.
15           (Appearing Telephonically)
16
17   ALSO PRESENT:     Abby Goldenberg
                        Special Counsel and Risk Officer
18                      Battery Park City Authority
19
               **                   **                   **
20
21
22
23
24
25


               TSG Reporting - Worldwide - 877-702-9580
      Case 1:15-cv-06119-AJN-JLC Document 373-3 Filed 06/19/17 Page 5 of 19


                                                                              Page 4
1
2
3                S T I P U L A T I O N S
4             IT IS HEREBY STIPULATED AND
5    AGREED by and between the Attorneys for
6    the respective parties hereto that
7    filing and sealing be and the same are
8    hereby waived.
9             IT IS FURTHER STIPULATED AND AGREED
10   that all objections except as to the form
11   of the question, shall be reserved to the
12   time of the trial.
13         IT IS FURTHER STIPULATED AND
14   AGREED that the within examination may be
15   signed and sworn to before any notary
16   public with the same force and effect as
17   though signed and sworn to before this
18   Court.
19
20    **                    **                    **
21
22
23
24
25


               TSG Reporting - Worldwide - 877-702-9580
      Case 1:15-cv-06119-AJN-JLC Document 373-3 Filed 06/19/17 Page 6 of 19


                                                                         Page 32
1                        K. McCABE - 4/6/17
2    BY DR. GREER:
3         Q.    Mr. McCabe, are you under oath?
4               MR. TREMONTE:       Dr. Greer, that's
5         harassing.     I'm going to instruct the witness
6         not to answer.      Next question.
7    BY DR. GREER:
8         Q.    Did you, Kevin McCabe, ever become
9    concerned about Steven Greer, my behavior during any
10   BPCA board meetings and concerned enough to justify
11   you not letting me in to subsequent meetings?
12              MR. TREMONTE:       Objection.
13        A.    Yes.
14   BY DR. GREER:
15        Q.    When did this behavior take place?
16              MR. TREMONTE:       Objection.
17        A.    I believe it was the June 9 meeting of
18   2015 where you repeatedly refused to leave the room
19   when we adjourned for executive session and only did
20   so when I threatened to call the police.
21   BY DR. GREER:
22        Q.    Did you make any reports to Brookfield
23   Security or the police department of New York City?
24        A.    Subsequent to that meeting, the chairman,
25   Mehiel, directed Brookfield to ban you from our


               TSG Reporting - Worldwide - 877-702-9580
      Case 1:15-cv-06119-AJN-JLC Document 373-3 Filed 06/19/17 Page 7 of 19


                                                                         Page 33
1                        K. McCABE - 4/6/17
2    offices at all times, again given your abusive and
3    disruptive behavior.
4         Q.     Abusive and disruptive are very broad.            Be
5    specific.    What exactly was abusive or disruptive?
6    What exactly did I do?
7                MR. TREMONTE:      Objection.
8         A.     Generally I know of several instances
9    you've called and harassed staff.           One in particular
10   that I recall is hearing that you called Seema Singh
11   directly at her office and called her a cunt.
12   BY DR. GREER:
13        Q.     Is that -- we'll get to that in a second.
14   That wasn't my question.
15               During this June 9, 2015, meeting where
16   you claim that was the incident that motivated
17   Chairman Mehiel to ban me from the offices, what
18   exactly did I do?
19               MR. TREMONTE:      Objection.
20        A.     You interfered with the course of business
21   with the board conducting executive session by
22   refusing to leave the board --
23   BY DR. GREER:
24        Q.     How?
25               MR. TREMONTE:      Objection.


               TSG Reporting - Worldwide - 877-702-9580
      Case 1:15-cv-06119-AJN-JLC Document 373-3 Filed 06/19/17 Page 8 of 19


                                                                         Page 35
1                        K. McCABE - 4/6/17
2    you know, hear any -- anything further until --
3    until executive session is over.
4         Q.    But tell me if I'm correct.          You're
5    describing, on June 9, that I refused to leave the
6    public board meeting when you went into executive
7    session, that I was standing in the boardroom, it
8    was not filmed, and that you and I did not come into
9    physical contact?
10              MR. TREMONTE:       Objection.
11   BY DR. GREER:
12        Q.    Is that correct?
13        A.    No, you were welcome to attend the public
14   board meeting.     You were asked to leave during the
15   private executive session.
16        Q.    No, that wasn't the question.
17              Once I allegedly refused to leave the
18   executive session, is it correct that you're saying
19   I was standing, refusing to leave, and that you and
20   I never touched one another?
21              MR. TREMONTE:       Objection, asked and
22        answered.
23        A.    I answered that already.
24   BY DR. GREER:
25        Q.    You can either reply and answer it again,


               TSG Reporting - Worldwide - 877-702-9580
      Case 1:15-cv-06119-AJN-JLC Document 373-3 Filed 06/19/17 Page 9 of 19


                                                                         Page 36
1                        K. McCABE - 4/6/17
2    or we can go through the laborious process of having
3    them reread the transcript.
4                 MR. TREMONTE:     Objection.
5    BY DR. GREER:
6         Q.      You misunderstood the --
7         A.      Can you repeat the question?
8         Q.      -- question before.      Yes.    Exactly.     You
9    didn't understand it before so that's why I'm
10   repeating it.
11              I'm trying to detail the exact series of
12   events that happened after the public session ended
13   and the executive session was to begin and you
14   claimed that I refused to leave and you claim --
15   what is that noise?
16              And you claimed that you had to threaten
17   to call the police or security and so forth.             I want
18   to know what physically you and I were doing, how
19   far apart were we, did we punch one another,
20   et cetera?    How did that happen?
21              MR. TREMONTE:       Objection.     Dr. Greer, I
22        think that might be the most compound question
23        I've ever heard.
24              You may answer it.
25              DR. GREER:      Okay.


               TSG Reporting - Worldwide - 877-702-9580
     Case 1:15-cv-06119-AJN-JLC Document 373-3 Filed 06/19/17 Page 10 of 19


                                                                         Page 37
1                        K. McCABE - 4/6/17
2         A.    Let me begin answering by explaining the
3    process when we adjourn for executive session.
4               As I -- on June 9, as I do during every
5    meeting, I clear the room of folks who are not a
6    part of the executive session discussion.            You were
7    the remaining attendee that was still in the room
8    that would refuse -- that was standing at the head
9    of the table opposite Mr. Greer -- I mean
10   Mr. Mehiel.
11              And as I -- we were very close.           I'd say,
12   you know, directly -- directly right next to each
13   other, and I asked you to leave.          And I said, "Do I
14   need to call the police?       Do I need to call the
15   police?   Do I need to call the police?"          And only
16   when I instructed our receptionist to call the
17   police did you leave.
18              So we were --
19   BY DR. GREER:
20        Q.    Did I ever -- continue.
21        A.    So that's it.      We were right next to each
22   other and that's how the events happened.
23        Q.    Did I strike you or punch you?
24              MR. TREMONTE:      Objection, asked and
25        answered.


               TSG Reporting - Worldwide - 877-702-9580
     Case 1:15-cv-06119-AJN-JLC Document 373-3 Filed 06/19/17 Page 11 of 19


                                                                         Page 42
1                        K. McCABE - 4/6/17
2                MR. TREMONTE:     Objection.
3         A.     Again, given your behavior, we always made
4    it a point to document interactions with you as a
5    matter of practice.
6    BY DR. GREER:
7         Q.     So you're being very vague and I can't pin
8    you down.    You're saying that I had this vague
9    behavior problem, but I can't even determine whether
10   it was from people coming to you and personally
11   telling you about it or whether it was from some
12   handwritten log.     I've gotten no details.
13               MR. TREMONTE:     That's not a question.
14   BY DR. GREER:
15        Q.     Can you give me some details?
16               MR. TREMONTE:     Objection to form.        Details
17        about what?
18               DR. GREER:    What I just said in the
19        previous sentence, Mr. Tremonte.           You're
20        wasting everybody's time.
21               MR. TREMONTE:     Objection.     There's not an
22        intelligible question pending.          I instruct you
23        not to answer.
24   BY DR. GREER:
25        Q.     All right.    Let me ask it again.


               TSG Reporting - Worldwide - 877-702-9580
     Case 1:15-cv-06119-AJN-JLC Document 373-3 Filed 06/19/17 Page 12 of 19


                                                                         Page 43
1                        K. McCABE - 4/6/17
2                You claim that in addition to the June 9
3    incident where I refused to leave a meeting, that on
4    top of that I had exhibited, quote/unquote, abusive
5    behavior to justify you then banning me from public
6    meetings.    I want to know what this behavior was,
7    quote/unquote, and how you knew about it.
8                Did you know about it because you saw it
9    yourself?    Did you know about it because a witness
10   came to you?    Do you know about it because of a
11   handwritten law?
12               MR. TREMONTE:     Objection.     That's now the
13        most compound question I've ever heard.
14               You can answer.
15        A.     I don't recall specifically every single
16   incident.    But again, now and again, the talk in the
17   office would be their interactions with you as they
18   occur.
19               With -- personally myself, at the May 2015
20   community board meeting where I ignored you and I
21   did not respond to your question, you became upset
22   at that and sat next to me and leaned your shoulder
23   into me and said, "Do you have a problem?"            That's
24   another instance.
25


               TSG Reporting - Worldwide - 877-702-9580
     Case 1:15-cv-06119-AJN-JLC Document 373-3 Filed 06/19/17 Page 13 of 19


                                                                         Page 44
1                        K. McCABE - 4/6/17
2    BY DR. GREER:
3         Q.     Okay.   That instance you just described in
4    May, what building did that take place in?
5         A.     I don't remember specifically.          I believe
6    1 Centre Street or wherever the community board used
7    to hold their offices.       Not at the Battery Park City
8    office.
9         Q.     So that did not take place during a BPCA
10   board meeting; is that correct?
11        A.     Correct.    That was a Community Board 1
12   Battery Park City committee meeting.
13        Q.     Now, regarding the -- as you very vaguely
14   nebulously described abusive behavior, this is your
15   opportunity on the record to tell me:           Did they take
16   place during a board meeting or not?
17               MR. TREMONTE:     Objection.
18               If you can make sense of that -- actually,
19        no.    I can't make sense of it.        Pose a new
20        question that's understandable.
21   BY DR. GREER:
22        Q.     So far, Mr. McCabe, you've listed one
23   incident on June 9 where I refused to leave as a
24   reason for Mr. Mehiel banning me from meetings.
25   Then you gave a vague explanation of abusive


                TSG Reporting - Worldwide - 877-702-9580
     Case 1:15-cv-06119-AJN-JLC Document 373-3 Filed 06/19/17 Page 14 of 19


                                                                         Page 49
1                          K. McCABE - 4/6/17
2    attended by more than a hundred other people, you
3    call that abusive and disruptive; is that correct?
4                  MR. TREMONTE:   Objection, misstates the
5            witness's testimony.
6    BY DR. GREER:
7            Q.    Mr. McCabe?
8            A.    Yes.
9            Q.    Okay.   Thank you.
10                 You've already acknowledged that Dennis
11   Mehiel ordered me to be banned.         I was going to ask
12   that.    You've already answered that.
13                 In the course of preventing me to coming
14   to board meetings from 2014, 2015, 2016, did you
15   alert numerous people, you or The Battery Park City
16   Authority, were people like Brookfield Properties
17   Security or even the NYPD informed that I was a
18   security threat?
19                 MR. TREMONTE:   Objection.
20        A.       Again, based on Dennis's indication from
21   following the June meeting, I would interact with
22   Mulligan Security, who manages security on
23   Brookfield's behalf, yes.
24   BY DR. GREER:
25        Q.       And how would you tell them to not let me


                  TSG Reporting - Worldwide - 877-702-9580
     Case 1:15-cv-06119-AJN-JLC Document 373-3 Filed 06/19/17 Page 15 of 19


                                                                         Page 50
1                        K. McCABE - 4/6/17
2    in, for what reason?      How did you describe the
3    reason to these third parties to not let me in?              Was
4    it because I was a mass murderer or because I was
5    something less than that?
6                 MR. TREMONTE:    Objection.     It's berating
7         on top of not being a proper question.
8                 Go ahead.
9         A.      It was solely based on your consistent
10   hostile behavior.
11   BY DR. GREER:
12        Q.    Okay.    Let me ask it this way:         In e-mails
13   or phone calls, when you told Brookfield Security or
14   Mulligan Security "do not let me in," they must have
15   asked why.    How did you explain the reason for this?
16              MR. TREMONTE:      Objection.
17        A.    Consistent hostile behavior.
18   BY DR. GREER:
19        Q.    Are you aware that the security staff of
20   Mulligan man the gates before you walk up into the
21   elevators to the offices of the BPCA -- they're on
22   the main floor.     Are you aware that they were
23   telling me, on video, that the BPCA's decision to
24   not let me in was silly and they didn't understand
25   it at all?    Are you aware of that?        It's on video.


               TSG Reporting - Worldwide - 877-702-9580
     Case 1:15-cv-06119-AJN-JLC Document 373-3 Filed 06/19/17 Page 16 of 19


                                                                         Page 58
1                        K. McCABE - 4/6/17
2    BY DR. GREER:
3         Q.      Exhibit 3 was a note I obtained at the
4    same time on April 13 and I have video evidence of
5    that.     It discusses this overflow room.        Let's
6    discuss the overflow room.
7                 First of all, this note, that handwritten
8    note, did you see it?       Were you aware of it?        Did
9    you write it?     Who wrote it?
10               So this note, do you recognize that
11   handwritten note?     That's my question.
12        A.     No.
13               MR. TREMONTE:     Objection.
14        A.     No.
15   BY DR. GREER:
16        Q.     Regarding this whole plan to set up video
17   overflow rooms or what Serpico said you called the
18   off site, was that ever -- was that off site ever
19   set up before, you know -- how many -- when did that
20   off-site video overflow room program begin; do you
21   recall?
22               MR. TREMONTE:     Objection.
23        A.     Yes, I believe it was the meeting -- the
24   July 2015 meeting.
25


                TSG Reporting - Worldwide - 877-702-9580
     Case 1:15-cv-06119-AJN-JLC Document 373-3 Filed 06/19/17 Page 17 of 19


                                                                         Page 59
1                        K. McCABE - 4/6/17
2    BY DR. GREER:
3         Q.    Was it set up specifically as a way to
4    keep me out of the meetings?
5               MR. TREMONTE:      Objection.
6         A.    No.    The chairman's instruction already
7    kept you out of the meeting.        I think we were
8    cognizant of your interests to watch the meeting.
9    So we provided an off-site location for any -- for
10   you to view that, if you wished to do so.
11   BY DR. GREER:
12        Q.    Did you ever tell Brookfield property
13   employees that the video overflow room was set up
14   specifically for me, as you just described?             I'm
15   paraphrasing what you just said.          Did you ever tell
16   anyone at Brookfield or the NYPD that that was the
17   reason for the overflow room?
18              MR. TREMONTE:      Objection.     Objection.       I
19        mean, you -- you can't, in an argumentative
20        fashion --
21              DR. GREER:     "Objection," that's all you're
22        allowed to say, Mr. Tremonte.          "Objection."
23              MR. TREMONTE:      -- summarize the witness's
24        testimony.     Please ask another --
25              DR. GREER:     Objection, that's all you're


               TSG Reporting - Worldwide - 877-702-9580
     Case 1:15-cv-06119-AJN-JLC Document 373-3 Filed 06/19/17 Page 18 of 19


                                                                         Page 68
1                        K. McCABE - 4/6/17
2    discussion or a matter of interest, as you described
3    it?   Why?
4                 MR. TREMONTE:    Objection.
5          A.     Given your consistent hostile and abusive
6    behavior, you were a matter of interest.
7    BY DR. GREER:
8          Q.     How did the BPCA become aware of my
9    apartment lease?     Who informed the BPCA that my
10   lease was not being renewed?
11                MR. TREMONTE:    Objection.
12         A.     I don't know.
13   BY DR. GREER:
14         Q.     You heard it from someone.
15                You don't recall who?
16                MR. TREMONTE:    Objection.
17         A.     No, I don't recall.
18   BY DR. GREER:
19         Q.     Does The Battery Park City Authority have
20   any ability, to your knowledge, to directly affect,
21   A-F-F-E-C-T, direct the impact or affect a
22   residential lease, doing that unilaterally without
23   the assistance of the building owner?
24                MR. TREMONTE:    Objection.
25         A.     No, not to my knowledge.


                TSG Reporting - Worldwide - 877-702-9580
     Case 1:15-cv-06119-AJN-JLC Document 373-3 Filed 06/19/17 Page 19 of 19


                                                                         Page 69
1                        K. McCABE - 4/6/17
2    BY DR. GREER:
3         Q.    If an executive like Serpico, Shari Hyman,
4    Dennis Mehiel wanted to vacate an apartment, would
5    they have the power or authority to do that without
6    the cooperation of the building owner?
7               MR. TREMONTE:      Objection.
8         A.    No, not that I'm aware of.
9    BY DR. GREER:
10        Q.    Do you know who Howard Milstein is?
11        A.    Yes.
12        Q.    Have you ever met him in person?
13        A.    Yes.
14        Q.    Was that meeting in The Battery Park City
15   Authority offices or somewhere else?
16              MR. TREMONTE:      Objection.
17        A.    Somewhere else.
18   BY DR. GREER:
19        Q.    Was it for official business purposes that
20   you met Howard Milstein or was it for a charity
21   fundraiser or something like that?
22              MR. TREMONTE:      Objection.
23        A.    Official business.
24   BY DR. GREER:
25        Q.    Did it take place within Battery Park


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